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    1 CRAIG CARPENITO (pro hac vice)
      ccarpenito@kslaw.com
    2 ANDREW MICHAELSON (pro hac vice)
      amichaelson@kslaw.com
    3 KING & SPALDING LLP
      1185 Avenue of the Americas, 34th Floor
    4 New York, NY 10036
      Tel: (212) 556-2100; Fax: (212) 556-2222
    5
      DAVID K. WILLINGHAM (CA 198874)
    6 dwillingham@kslaw.com
      KING & SPALDING LLP
    7 633 West Fifth Street, Suite 1600
      Los Angeles, CA 90071
    8 Tel: (213) 443-4355; Fax: (213) 443-4310

    9 MEGHAN H. STRONG (CA 324503)
      mstrong@kslaw.com
   10 KING & SPALDING LLP
      50 California Street, Suite 3300
   11 San Francisco, CA 94111
      Tel: (415) 318-1200; Fax: (415) 318-1300
   12
        Attorneys for Defendant Giovanni Perone
   13
                           UNITED STATES DISTRICT COURT
   14
                         CENTRAL DISTRICT OF CALIFORNIA
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   17   IN RE ETHEREUMMAX INVESTOR
        LITIGATION                                Lead Case No. CV 22-163-MWF( SKx)
   18
        This Document Relates To:                 ORDER GRANTING
   19                                             STIPULATION REGARDING
             ALL ACTIONS                          PAGE LIMITS FOR
   20                                             DEFENDANTS’ MOTIONS TO
                                                  DISMISS
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         ORDER GRANTING STIPULATION                           Case No. CV 22-163-MWF( SKx)
         REGARDING PAGE LIMITS FOR
         MOTIONS TO DISMISS
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    1         Presently before the Court is a Stipulation Regarding Page Limits for
    2   Defendants’ Motions to Dismiss (the “Stipulation”). Having considered the
    3   Stipulation, and for GOOD CAUSE shown, the Court hereby rules as follows:
    4         IT IS HEREBY ORDERED that the page limits for Defendants’ motions
    5 to dismiss are modified as follows:

    6         1.    Defendants may jointly submit an omnibus motion to dismiss
    7 supported by a memorandum of points and authorities that shall not exceed 40

    8 pages in length, excluding indices and exhibits.

    9         2.    In addition, each individual Defendant may submit a separate motion
   10 to dismiss supported by a memorandum of points and authorities that shall not

   11 exceed 13 pages in length, excluding indices and exhibits.

   12         IT IS SO ORDERED.p
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   14 Dated: July 26, 2022                   __________________________________
   15
                                             MICHAEL W. FITZGERALD
                                             United States District Judge
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   28                                                              Case No. CV 22-163-MWF( SKx)
         ORDER GRANTING STIPULATION             2
         REGARDING PAGE LIMITS FOR
         MOTIONS TO DISMISS
